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                                                                  FILED: January 24, 2020

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                           No. 19-2243
                                       (5:19-cv-00215-BO)
                                      ___________________

        RICKEY KIMBRIEL AND PAULA KIMBRIEL, individually, and on behalf of
        all others similarly situated

                     Plaintiffs - Appellants

        v.

        ABB, INC.; BALDOR ELECTRIC COMPANY, n/k/a ABB Motors and
        Mechanical, Inc.

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

               Upon consideration of the stipulated motion to voluntarily dismiss, the court

        dismisses this appeal, upon such terms as have been agreed to by the parties,

        pursuant to Rule 42(b) of the Federal Rules of Appellate Procedure.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk




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